              Case 6:17-cv-00448-MC         Document 26                  Filed 05/07/18               Page 1 of 10




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                                   UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

                                                      Portland


  JENNIFER JOY FREYD,                                                                              CY.6:17-cv-448-MC

                                          Plaintiff,
                                                                    DEFENDANTOS RESPONSE TO
              V                                                     PLAINTIFF'S SECOND MOTION
                                                                    FOR EXTENSION OF' DISCOVERY
  UNIVERSITY OF OREGON,                                             AND PRETRIAL DEADLINES

                                        Defendant.


              Defendant University   of Oregon ("University" or "Defendant")                          responds to Plaintifls

  Second Motion for Extension of Discovery and Pretrial Deadlines to provide a more complete

  summary of the status of the case, to address some issues that                         it   does not believe are accurately

  described, and to advise the Court of its concerns that Plaintiffls proposal takes the case off track

  and   will make adhering to the established trial       date something that is not feasible.

  I.          Plaintiffs Proposed Extensions Adversely Affect the Established Trial Calendar
              While the parties conferred in advance of Plaintiff s filing and Defendant did not agree to

  Plaintiffls request, Defendant believes that whether or not an extension of discovery is appropriate

  is dependent upon the overall posture of the case, and not simply Plaintiffs request for time to

  begin taking depositions.

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                                  PLAINTIFF'S SECOND MOTION FOR
    Page 1 - DEFENDANT'S RESPONSE TO
    EXTENSION OF DISCOVERY AND PRETRIAL DEADLINES
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               Case 6:17-cv-00448-MC           Document 26                 Filed 05/07/18           Page 2 of 10




               A. Plaintiff   s Pending   Motion to Amend and the Proposed Additional Defendants
               As an initial matter, Plaintiff s pending motion to amend the Complaint and add two new

  individual defendants is highly relevant to this present request. Defendant will not repeat the

  arguments made in its response to that motion, but disputes Plaintifls assertions that the addition

  of two new defendants will not merit broader or additional discovery beyond what the University

  has already undertaken. Prior to Plaintiff s motion to amend, at least one proposed defendant,

  President Schill, had scarcely been mentioned in the case and had only been in his role for two

  years before the lawsuit was        filed. Similarly, discovery requests                and questions posed to   Plaintiff

  during her deposition were focused on her claims as previously outlined in her Complaint, and did

  not raise allegations against him.

               Separately, and of considerable significance to PlaintifPs current proposal to adjust pretrial

  deadlines, Defendant notes that President Schill and Dean Sadosfky,                       if   added as defendants to this

  case, may not be represented by the same counsel as the University; that fact has been shared                        with

  Plaintiff     s   Counsel. As separate parties with potentially separate counsel, they would be entitled

  to full and fair discovery in this case, and therefore the Court's ruling on Plaintiffls motion to
  amend the Complaint is an important factor to take into consideration                             in addressing this new
  request for adjusted pretrial deadlines. The time Plaintiff requests suits her needs, but does not

  build in time for the proposed defendants to conduct discovery.

               B.   Adequate Time Would Be Required for Other Case Deadlines Besides Discovery

               Defendant disagrees with Plaintifls characterizations of the progress of discovery and

  whether Plaintiff needed to delay her depositions until receiving                          all information about merit
  increases. If Plaintiff s request for extended discovery is granted, corresponding adjustments                        will
  necessarily have to be made to all other case deadlines.

               Plaintiff s Complaint contains ten separate legal claims; Defendant believes that a number

  of the claims can be appropriately narrowed and several concluded upon summary judgment. As

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     Page2 - DEFENDANT'S RESPONSE TO PLAINTIFF'S SECOND MOTION FOR
     EXTENSION OF DISCOVERY AND PRETRIAL DEADLINES
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                Case 6:17-cv-00448-MC          Document 26                 Filed 05/07/18           Page 3 of 10




  reflected inthe Answer, there are serious issues of timeliness and legal sufficiency of the claims.

  It is important for Defendant to have the opportunity to raise these issues through carefully
  prepared dispositive motions filed with the Court sufficiently                           in   advance   of trial. Plaintiff s
  proposed calendar requires Defendant to waste resources preparing for a full trial on ten separate

  claims going back a decade or more without having sufficient opportunity to first                                    address

  deficiencies on summary judgment so that the parties know the case they are going to                                try. If
  Defendant is forced into Plaintiff s planned schedule, it will be incurring considerable fees as well

  as expenses for expert witnesses on all claims as stated.

               Plaintiffls proposed extension suggests less than a month between the close of fact
  discovery and the deadline for dispositive motions, and less than a month between the deadline for

  dispositive motions and the due date for expert disclosures. This means that any experts Defendant

  retains will have to prepare a full analysis of all claims because that work cannot wait for a ruling

  under       Plaintiff s proposed timeline. Therefore, if Plaintiff s request for extended fact discovery is
  granted, Defendant believes that corresponding adjustments will have to be made to all other case

  deadlines in order to protect its right, and the rights of any individual defendants, to prepare its

  case for      trial.

  II.          Plaintiff   s   Discovery Was Not Hindered by Defendant's Production

        A.     Defendant's Pace and Progress of Production Has Been Reasonable, Particularly in
               Light of the Extremely Broad Requests Plaintiff Has Made
               Defendant disagrees with Plaintiff s characterizations of the progress of discovery and the

  potential impact to Plaintiff s depositions. Production of documents and information has been

  lengthy and involved, but both progress and communication between the parties have been

  reasonable and ongoing.

               Plaintiff s extensive requests for detailed salary and merit data have been much broader

  than the department in which she works and which she says includes all her potential comparators.

  Her requests included, by way of example: "For each individual who has served as an associate
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                                  PLAINTIFF'S SECOND MOTION FOR
    Page 3 - DEFENDANT'S RESPONSE TO
    EXTENSION OF DISCOVERY AND PRETRIAL DEADLINES
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                   Case 6:17-cv-00448-MC          Document 26                  Filed 05/07/18        Page 4 of 10




  professor, assistant professor, or full professor in the College of Arts and Sciences at any time

  since 1992           ... gender; department; rank; hire date; years in rank; PhD year; tenure or promotion
  date, FTE designation by department; base salary; each stipend including identification of the

  stipend and what it is for; any other monetary (non-benefit) compensation (such as additional pay

  for holding a            named professorship,      for     example); retirement contribution made                   by   UO;

  administrative assignment,             if   any; FTE allocation for any administrative assignment                        and

  compensation for that assignment; sabbaticals taken and dates; date                              of   separation; reason for

  separation; years          of service with UO; and indicate whether the individual was subject to                        any

  disciplinary action that affected their compensation." This broad request was made despite the

  fact that Plaintiff has identified her universe of comparators to be full professors in the Psychology

  Department, and even more narrowly to just four identified male professors, and has made clear

  she is not comparing herself to departments elsewhere in the College of Arts and Sciences. This

  is not a class action; it is a very narrow dispute about specific considerations                         -   mostly about the

  University's efforts           to retain a small      number         of highly productive world class scientists.
  Nevertheless, Defendant has been responding to requests of this nature and therefore gathering

  and assessing significant amounts of information.

                   Much of the detailed information that Plaintiff requested does not exist within acenlralized

  location at the University, and therefore, as different files, spreadsheets, and sources of information

  were obtained and produced, those components                            of Plaintiffs        requests for production were

  necessarily received on a rolling basis. Defendant's Counsel also invited Plaintiff s Counsel to

  notify us of any additional information she might need, gave her leave to specify any particular

  order of priority for those items requested, and worked to be responsive to any of those requests.

          B. Plaintiffs         Proposed Depositions Were Not Delayed                          or Hindered by Defendant's
                   Production

                   Defendant has worked over the course of many months to provide Plaintiff with documents

  responsive to her many and broad requests. Defendant disagrees with the assertion that Plaintiff
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          DEFENDANT'S RESPONSE TO PLAINTIFF'S SECOND MOTION FOR
    Page 4 -
    EXTENSION OF DISCOVERY AND PRETRIAL DEADLINES
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               Case 6:17-cv-00448-MC         Document 26                 Filed 05/07/18             Page 5 of 10




  was unable to take or schedule depositions prior to receiving all of the information requested or

  referenced.

               The merit scores (which Plaintiff asserts have required delaying depositions) are set by a

  rotating group of professors within the Department of Psychology who serve on an executive

  committee. Plaintiff has always known the process and who has been involved in setting merit

  scores, and in fact she was provided a copy          of an internal investigation of her complaint early in

  this dispute. Plaintiff is not new to the University, has herself participated as a member of the

  executive committee which recommends faculty merit scores, knows each of the department

  faculty against whom she does, or does not, compare herself, and has always had the information

  needed to decide which witnesses should be deposed. She has not been prevented from asking to

  schedule depositions within the limits of discovery and could have requested dates in time for

  those witnesses to keep their calendars clear so that discovery could be completed within the

  deadlines set by the court and so that the parties could adhere to the remainder of the calendar.

               In addition, Plaintiff initially asked for five depositions, three of whom are not even
  involved with setting merit scores     - so plainly    more than half her planned depositions did not relate

  to those merit scores.

               Similarly, while merit scores are a component of each professor's ongoing evaluations,

  Plaintiffls Complaint and proposed amended complaint focus this dispute in a different direction;

  it is largely    based on the assertion that the primary cause               of significant differences in salaries at

  the professor level are due to retention offers, not merit scores.                     Plaintiff s asseftion that it "would

  have been a waste of everyone's time" to even ask for depositions without all of these merit scores

  is unrealistic.

       C. Defendant Proceeded With Deposition in the Absence of Full Production From
          Plaintiff
               A deposition is one of many kinds of discovery. Certainly aparty can elect to delay taking

  a deposition in order to have all the document discovery completed, but that is a strategic choice
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                                  PLAINTIFF'S SECOND MOTION FOR
    Page 5 - DEFENDANT'S RESPONSE TO
    EXTENSION OF DISCOVERY AND PRETRIAL DEADLINES
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              Case 6:17-cv-00448-MC              Document 26                   Filed 05/07/18       Page 6 of 10




  and the Rules do not provide that a party must delay depositions. Plaintiff elected to make such a

  choice, without a guarantee that depositions could be scheduled after the May 3,2018 close of

  discovery. That was not a reasonable choice given that this lawsuit was filed well over ayear ago

  and given that Plaintiff waited so long to even identify possible deponents (most of whom have

  active and full calendars). Defendant had received very little discovery from Plaintiff when it took

  her deposition on February 14,2018; she did not provide a major part of her document production

  until March 15,2018, and still owes Defendant considerable discovery                         as   of this writing.

              Plaintiff requested, and Defendant provided, proposed search terms to aid her in her search

  of her email accounts. Only as of March 19,2018 did Plaintiff request a separate download of her

  University email files to begin this search, at which point a discussion took place between the

  parties regarding the faculty and student privacy requirements the University is bound to follow

  which prohibit          it from   providing the requested electronic database of Plaintiff s work emails

  external to the University. Because of the nature of the types of information contained in Plaintiffls

  email account, she would be required to search her emails and first filter out or sufficiently de-

  identify any student or faculty information implicated by these legal requirements before
  submitting the remainder of the emails to her attorney for review and production. Plaintiff has

  evidently not completed a search of her work or personal email accounts. Nevertheless, Defendant

  conducted       Plaintifls deposition without completed document production from Plaintiff, where
  such emails were likely to be a main and critical area of Plaintiffls discovery obligations.

              D. Defendant Disputes Plaintiffls Reasons for Her Delay in Scheduling Depositions

              Defendant does          not believe that Plaintifls request accurately describes the
  communications and timing surrounding her requests for depositions.

              Plaintiff   s   first communication to Defendant about proposed deponents was on March                   19,

  2018, at which time she noted that she would want to depose those individuals identified in

  Plaintiff s RFP 19, but not all. There was no conversation about any particular date ranges or date

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                                  PLAINTIFF'S SECOND MOTION FOR
    Page 6 - DEFENDANT'S RESPONSE TO
    EXTENSION OF DISCOVERY AND PRETRIAL DEADLINES
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               Case 6:17-cv-00448-MC               Document 26                  Filed 05/07/18   Page 7 of 10




  suggestions for these depositions, nor did Plaintiff provide any information about her schedule or

  anticipated scheduling limitations. At the same time, as of March 1,2018, the Court had granted

  the parties'      joint motion for extension of time, setting the close of discovery for May 3,2018.1

               Plaintiff   s   first mention of any particular deposition dates was an email on April 10, 2018,

  less than a month before the close of discovery, in which she asked for f,rve depositions and

  proposed only five potential dates, the majority of which were already past the curuent cutoff for

  the close of discovery; at that time there was no conversation or request as to whether the Court

  would extend the deadlines. On April 20,2018, Plaintiff and Defendant held                        a phone conference,

  during which Defendant reported that all open scheduling availability had been requested for May

  dates for the requested deponents and was being gathered, at which time                        Plaintiff stated that her

  schedule was already            filling up in May and could Defendant ask about dates in June. Defendant's

  Counsel stated only that she would try.

               On   April 23,2018, Defendant emailed Plaintiff that "upon further follow up, we don't have

  the discretion to look at dates in June ... Local Rule 1 6-2(e) says all depositions must be taken

  before the discovery completion date set by the cour1, 16-3(b) covers stipulations to extend

  deadlines, and LR 29(a) says that the parties alone are not permitted to stipulate to extend any

  deadline established by the case scheduling order. To that end, close of fact discovery, including

  depositions, is currently set for May 3'd."

               In continued correspondence, Defendant wrote that while Plaintiff did raise the fact that
   she would        likely need an extension to start her depositions, there was no discussion at all about

  Defendant's agreement or disagreement on that point. With respect to requesting deposition dates

  in June, Defendant specifically stated that "we do not have the discretion to extend deadlines
  without the Court's approval. We have been gathering availability in May, but your cunent

  request is to supply dates in June, more than a month after the close of discovery instead of a few


  I The Court did not grant the parties' the full discovery extension requested, which indicated to
  all parties that any additional discovery requests should be commenced and concluded promptly.
     PageT - DEFENDANT'S RESPONSE TO PLAINTIFF'S SECOND MOTION FOR
     EXTENSION OF DISCOVERY AND PRETRIAL DEADLINES
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              Case 6:17-cv-00448-MC         Document 26                Filed 05/07/18       Page 8 of 10




  days. At the same time, we have been responding with references to our goal of meeting the

  Court's established deadlines. Certainly you can raise the need for an extension separately with

  the Court, but it would be inaccurate to state or suggest that we have changed our position or that

  you were somehow unable to ask to schedule these depositions earlier in the case." There was no

  mention of not having the discretion to check deposition dates with witnesses.2

              Plaintiff made clear that she would seek an extension from the Court. Defendant has been

  waiting for that motion; an outcome on a possible extension would impact how depositions could

  be planned or scheduled. Similarly, possible deposition dates in May have not gone forward to

  the extent that Plaintiff indicated that her schedule in May was filling up and that she would be

  seeking permission from the Court to extend deadlines. In addition, on April 30,2018, Plaintiff

  for the first time stated she would like a 30(bX6) deposition, and that she would like to take the

  depositions      of four other individuals in the Psychology Department who she alleges are her
  appropriate salary comparators.

              Plaintiff had initially asked to schedule depositions in early May; while that would still

  have required permission from the Court,         it would have            had far less impact on the overall trial

  schedule. The proposed addition of additional parties, and the request to extend by two months

  imposes considerable hardship on Defendant. Accordingly, Defendant asks the Court: (1) to deny

  Plaintiff s motion to amend the Complaint and adhere to the current case deadlines ordered on

  March I,2018; or (2) if the motion to amend is granted, to set new case deadlines to accommodate




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  'These communications were by email and Defendant can supply copies of the correspondence                       if
  the Court wishes.

                                  PLAINTIFF'S SECOND MOTION FOR
    Page 8 - DEFENDANT'S RESPONSE TO
    EXTENSION OF DISCOVERY AND PRETRIAL DEADLINES
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                    Case 6:17-cv-00448-MC     Document 26                 Filed 05/07/18   Page 9 of 10




  the addition of new parties; or (3)       if the motion to amend is denied but additional discovery is
  permitted, to extend all case deadlines accordingly.


  DATED this 7th day of May, 2018

                                                            BARRAN LIEBMAN LLP


                                                                      s/Shayda Zøerpoor Le
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    Page 9 - DEFENDANT'S RESPONSE TO
                                  PLAINTIFF'S SECOND MOTION FOR
    EXTENSION OF DISCOVERY AND PRETRIAL DEADLINES
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                Case 6:17-cv-00448-MC       Document 26                 Filed 05/07/18            Page 10 of 10




                                       CERTIFICATE OF SERVICE
                I hereby certify that on the 7th day of May,20I8,I served the foregoing DEFENDANT'S

  RESPONSE TO PLAINTIFF'S SECOND MOTION FOR EXTENSION OF DISCOVERY

  AND PRETRIAL DEADLINES on the following parties                               at the    following addresses:

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  by the following indicated method or methods set forth below:

                       Electronic Filing using the Court's ECF System

                       Facsimile

                n      First-class mail, postage prepaid

                       Hand-delivery

                       Overnight courier, delivery prepaid

                       E-mail


                                                             s/Shayda Zaerpoor Le

                                                                    Paula A. Barran
                                                                    Shayda Zaerpoor Le




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                                  PLAINTIFF'S SECOND MOTION FOR
    Page 10 - DEFENDANT'S RESPONSE TO
    EXTENSION OF DISCOVERY AND PRETRIAL DEADLINES
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